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                 Attorneys for Defendant Secured Creditor
             5   Pacific Motors, a CA Corp.
             6
                                  UNITED STATES BANKRUPTCY COURT
             7
                             EASTERN DISTRICT OF CALIFORNIA (MODESTO)
             8
             9    In re:                                Chapter 13
           10                                           Case No.17-90400
                  JAMELIA ANTOINETTE
           11                                           Adv. Proc No. 17-09005
                  ROBINSON
           12
           13                                           PRETRIAL STATEMENT OF
                                          Debtor
           14     ______________________________        ADVERSARY PROCEEDING
           15                                           DEFENDANT
                  JAMELIA ANTOINETTE
           16                                           PACIFIC MOTORS, A CA CORP.
                  ROBINSON
           17
           18                   Plaintiff-Debtor        Pretrial Conference is Set for:
                  versus
           19                                           Date: March 22, 2018
                  PACIFIC MOTORS,
           20                                           Time: 9:30am
                  A CA CORP.
           21                                           Place: US Bankruptcy Court
                                                               501 I Street, Sixth Floor
           22                   Defendant                      Courtroom 34
                                                               Sacramento, CA
           23
           24
           25
           26
           27
           28




                 PRETRIAL STATEMENT OF DEFENDANT PACIFIC MOTORS, A CA CORP. -1-
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             1
             2 I.     INTRODUCTION
             3        In this adversary proceeding, debtor Robinson alleges that Pacific Motors, a
             4 small used car dealer in Modesto, violated the bankruptcy automatic stay by not
             5 returning to debtor, fast enough, after debtor filed bankruptcy, a Toyota Prius car,
             6 which Pacific Motors had repossessed pre-petition, due to Robinson never having
             7 made a single monthly payment on the Prius, from when she contracted to purchase
             8 the Prius from Pacific, over time, to when Pacific repossessed the Prius pre-petition.
             9 The adversary proceeding does not allege any stay violation relating to the pre-
           10 petition repossession, as there was no automatic stay in effect pre-petition. It only
           11 alleges that Pacific violated the automatic stay by not returning the Prius to debtor,
           12 fast enough, after debtor filed bankruptcy.
           13         Debtor at all times owned a second car, a Chevy Cruz, which debtor drove to
           14 Pacific when debtor visited Pacific to purchase the Prius from Pacific.
           15         Debtor is represented in the adversary proceeding (but not in the underlying
           16 bankruptcy) by an Arizona attorney, Kenneth Neeley, Esq., who brings alleged stay
           17 violation adversary proceedings in Arizona and out of state, and whom debtor
           18 testified is working on a contingent fee basis.
           19         Pacific delayed returning the Prius to Robinson, post-petition, because Pacific
           20 reasonably believed that Debtor had abandoned the Prius, which debtor had left
           21 parked in a strip mall parking lot, for several days, filled with trash and partly eaten
           22 food.
           23         Pacific hired counsel, The Bankruptcy Law Firm, PC, which filed an Answer
           24 in the adversary proceeding, on August 3, 2017. As a gesture of good will, Pacific’s
           25 Answer offered to let debtor have possession of the Prius, while the adversary
           26 proceeding was litigated, despite debtor having no right to the Prius, due to debtor
           27 having abandoned the Prius prepetition. It took debtor 5 days to pick up the Prius.
           28 After she picked it up, she drove it little.
                      Debtor thereafter filed a Motion to Modify her confirmed Chapter 13 plan, to



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             1 abandon the Prius to Pacific, and to pay more to the IRS. The Court denied that
             2 motion, after continuing once, due to debtor was behind on her plan payments on her
             3 confirmed plan.
             4         Despite her Motion to Modify plan to abandon Prius being denied by the
             5 Court, Debtor thereafter parked the Prius next to Pacific’s dealership. Pacific’s
             6 undersigned counsel informed debtor’s counsel Neeley that unless Robinson got her
             7 plan modified, everyone was bound by the plan, and the plan required Robinson to
             8 keep the Prius, and pay on it monthly to Pacific, as part of Robinson’s monthly plan
             9 payment. Pacific’s undersigned counsel refused to accept the Prius key, because that
           10 would be inconsistent with the confirmed plan.
           11          Debtor’s multiple attempts, post-petition, to abandon the Prius–Motion to
           12 modify plan to abandon, and then ditching the Prius next to dealership--reinforces
           13 the fact that debtor abandoned the Prius in the strip mall parking lot, pre-petition.
           14          Debtor testified in her deposition in the herein adversary proceeding that she
           15 does not want the Prius, that after the Prius was returned to her, she purchased a
           16 different car, and testified she in addition still owns the Chevy Cruz. Debtor also
           17 testified she was going to bring a new Motion to Modify her plan, to surrender the
           18 Prius. Debtor has not moved again.
           19          This adversary proceeding could have, and would have, been settled
           20 immediately, but for Neeley’s unreasonable behavior, which is aimed at needlessly
           21 running up attorneys fees for Neeley, a contingent fee attorney: Immediately after it
           22 filed its Answer, Pacific, by its undersigned counsel, made a written settlement offer
           23 to Debtor, in an attempt to avoid the expense to both sides of litigating the adversary
           24 proceeding. That settlement offer included that Robinson would have been given
           25 the Prius, free and clear. Robinson, by Neeley, rejected Pacific’s settlement offer.
           26 Neeley has never made any settlement offer, he has only made demands for large
           27 amounts of money that are not settlement offers, as they offer nothing in return.
           28          Neeley hopes that Pacific will lose the adversary proceeding (though it should
                 not), and that the Court will order Pacific to pay Neeley’s attorneys fees. That



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             1 should not happen, under any scenario, because the attorneys fees that Neeley is
             2 running up are not reasonable or necessary. This adversary proceeding should have,
             3 and would have, been settled immediately, by Pacific’s undersigned counsel, but for
             4 Neeley obstructing settlement. Very few debtors who need a car, turn down a
             5 settlement offer of getting the car free and clear. Debtor clearly did not need the
             6 Prius, and suffered no damage by not having the Prius from when it was repossessed
             7 pre-petition, to when it was returned post-petition.
             8         Debtor said in deposition that she would supply documents, to be attached as
             9 an exhibit, to support her unsubstantiated allegation that she was paying someone to
           10 drive her to work; but the deposition reporter reports no such documents have been
           11 supplied to reporter, by debtor’s counsel Neeley.
           12          If debtor loses this adversary proceeding, debtor will owe to Pacific, Pacific’s
           13 attorneys fees, pursuant to the attorneys fees clause in the Prius installment purchase
           14 contract, and per the Travelers US Supreme Court case. Neeley is willing to let
           15 debtor take that risk, to try to run up attorneys fees for Neeley.
           16          On March 6, 2018, the Chapter 13 Trustee filed a Motion to Dismiss Debtor
           17 Robinson’s Chapter 13 case, due to debtor being behind on plan payments on her
           18 confirmed Chapter 13 plan.
           19
           20 II. JURISDICTION AND VENUE
           21          Jurisdiction and venue for this adversary proceeding are correct in Bankruptcy
           22 Court, ED CA (Modesto Division). Debtor resides in this District, and Pacific’s used
           23 car dealership is located in Modesto, CA.
           24
           25 III.     UNDISPUTED FACTUAL ISSUES
           26          Pacific believes everything stated in I. supra is undisputed, except the issues
           27 listed in IV immediately infra.
           28
                 IV.   DISPUTED FACTUAL ISSUES



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             1         Pacific believes that everything stated in I. supra is undisputed, except that the
             2 following issues are disputed:
             3         1. Whether debtor had abandoned the Prius in the strip mall parking lot, pre-
             4 petition: Pacific believes yes; but debtor testified, in her deposition, that she was just
             5 parking the Prius in the strip mall parking lot, every day and night, to make it harder
             6 for Pacific to find and repossess the Prius.
             7         2. If it were assumed arguendo that debtor had not abandoned the Prius in the
             8 strip mall parking lot, did debtor--who at all times owned a second car, a Chevy
             9 Cruz, and who bought a third car, after the Prius was returned to her--suffer any
           10 damage from the delay in the Prius (repossessed pre-petition) being returned to
           11 debtor’s possession, post-petition.
           12          3. Is debtor equitably estopped from being awarded any damages, due to the
           13 fact that debtor obtained the Prius from Pacific, by fraud, by misstating debtor’s
           14 financial situation.
           15          4. Does debtor owe Pacific reimbursement for Pacific’s reasonable and
           16 necessary attorneys fees, pursuant to the attorneys fees clause in the Prius installment
           17 contract; and if yes, what dollar amount should Pacific be awarded, as Pacific’s
           18 reasonable and necessary attorneys fees. Or, does Pacific owe debtor her attorneys
           19 fees; and if yes, what dollar amount should debtor be awarded, as her reasonable and
           20 necessary attorneys fees relating to the delay in returning possession of the Prius to
           21 debtor.
           22
           23 V.       DISPUTED EVIDENTIARY ISSUES:
           24          Pacific is not aware of there being any disputed evidentiary issues.
           25
           26 VI.      RELIEF SOUGHT
           27          Pacific requests the Court to enter Judgment against Debtor, in favor of
           28 Pacific, (1) that there was no stay violation, because debtor–who had never made a
                 single monthly payment on the Prius--had abandoned the Prius in the strip mall



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             1 parking lot, pre-petition, and due to the prepetition abandonment, the Prius,
             2 repossessed pre-petition, did not become property of debtor’s bankruptcy estate
             3 when debtor thereafter filed bankruptcy; and (2) that, per the attorneys fees clause in
             4 the Prius installment purchase contract, that debtor owes Pacific reimbursement for
             5 Pacific’s reasonable attorneys fees of defending against the adversary proceeding.
             6         Second, Pacific requests that, even if the Court were to find the stay applied,
             7 that the Court to order that debtor did not suffer any damage due to the delay in the
             8 Prius (repossessed prepetition), being returned to debtor, post-petition, because
             9 debtor had a second car, the Chevy Cruz, and because after the Prius was returned to
           10 her, debtor bought a third car. If the Court were to find that there was a stay, Pacific
           11 requests that the Court find that debtor/debtor’s counsel acted unreasonably, and ran
           12 up attorneys fees unnecessarily, after the Prius was returned to debtor, and that only
           13 nominal attorneys fees should be awarded.
           14          Third, Pacific requests that the Court order that debtor is equitably estopped
           15 from being awarded any damages of any kind, due to the fact that debtor obtained
           16 the Prius by making false statements to Pacific regarding debtor’s financial situation.
           17
           18 VII. POINTS OF LAW
           19          1. An adversary proceeding is not required to seek damages for alleged stay
           20 violation, only a motion is required. At this point, debtor should only be proceeding
           21 by a 11 USC §362(k) motion seeking attorneys fees, NOT by an adversary
           22 proceeding: Pacific, in its Answer offered (as a gesture of good will) that debtor
           23 could have possession of the Prius, while this matter was being litigated; debtor
           24 picked up the Prius; and debtor still has possession of Prius, pursuant to Debtor’s
           25 confirmed Chapter 13 plan (plan which requires debtor to make monthly payments
           26 on Prius, as part of debtor’s plan payment, but debtor has defaulted in paying plan
           27 payments). Debtor’s counsel is needlessly trying to run up attorneys fees, by
           28 insisting on litigating this as an adversary proceeding–with depositions, requests to
                 produce, interrogatories, requests for admission, pretrial, trial, etc.–when this should



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                 be resolved by a simple 362(k) motion. Debtor’s attorney should not be rewarded
             1
                 for needless litigation, because attorneys fees for needless litigation are not
             2
                 reasonable or necessary.
             3
                       2. Pre-petition abandonment is a question of California state law. In re
             4
                 Ozenne, 337 B.R. 214, 219 (B.A.P. 9th Cir. 2006). Per California state law,
             5
                 abandonment of property requires both nonuser and the intent to abandon. Pacific
             6
                 Gas & Electric Co. v. Zuckerman (1987) 189 Cal.App.3d 1113, 1145. Before an
             7
                 abandonment may be found it is necessary to establish nonuser accompanied by
             8
                 unequivocal and decisive acts showing an intent to abandon. Id. Nonuse is evidence
             9
                 of abandonment, its weight being proportionate to its duration. 1 Cal. Jur. 3d
           10
                 Abandoned Property § 16 (3d). Lapse of time, or delay in asserting a right, is closely
           11
                 associated with nonuser and are elements to be considered in connection with the
           12
                 question of abandonment. Id. Abandonment requires something more than mere
           13
                 passivity; there "must be some clear and unmistakable affirmative act or series of
           14
                 acts indicating an intention to relinquish ownership.” UMG Recordings, Inc. v
           15
                 Augusto (2008) 558 F. Supp. 2d 1055, 1064.
           16
                       3. Because debtor abandoned the Prius, pre-petition, in a strip mall parking lot,
           17
                 the Prius did not become property of debtor’s bankruptcy estate. Per 11 USC
           18
                 §§541(a)(1), what becomes property of a debtor’s bankruptcy estate is property the
           19
                 debtor owns as of commencement of the bankruptcy case. Property abandoned pre-
           20
                 petition does not become property of the bankruptcy estate, because the debtor
           21
                 ceased to own the property before the bankruptcy was filed.
           22
                       4. 11 USC 362(a)(1)-(8) stays creditors from taking certain actions relating to
           23
                 property of debtor and property of debtor’s bankruptcy estate, but does not stay
           24
                 Pacific from delaying in returning the Prius (repossessed pre-petition, when there
           25
                 was no automatic stay) to debtor, after debtor filed bankruptcy, where debtor
           26
                 abandoned the Prius in the strip mall parking lot before debtor filed bankruptcy.
           27
                       4. 11 USC §362(k) provides that where there is a stay violation, “...an
           28
                 individual injured by any willful violation of the stay provided by this section shall
                 recover actual damages, including costs and attorneys’ fees, and in appropriate


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                 circumstances, may recover punitive damages.”
             1
                       A. Attorneys fees, per 11 USC §362(k), would be only be those attorneys
             2
                 fees incurred by the debtor that were “reasonable and necessary” to stop the stay
             3
                 violation. In re Achterberg (E.D.C.A. 2017) 573 BR 819, 840. Courts look to two
             4
                 factors to determine the amount of attorneys fees to award as part of damages for a
             5
                 stay violation: “(1)What expenses or costs resulted from the violation; and (2) what
             6
                 portion of those costs was reasonable, as opposed to costs that could have been
             7
                 mitigated.” In re Roman (9th Cir. BAP 2002) 283 B.R. 1, 12, quoting In re GeneSys,
             8
                 Inc. (Bankr.D.Dist.Col.2001) 273 B.R. 290, 296 (other citations omitted).
             9
                       B. Punitive damages are only awardable where a party acts with “fraud,
           10
                 oppression or malice”. CA Civil Code §3294.
           11
                       5. Pacific’s Answer pleads affirmative defenses that (1) debtor is not entitled
           12
                 to any monetary damages, due to debtor’s unclean hands ie, never made a single
           13
                 monthly payment from when contracted to buy vehicle over time until it was
           14
                 repossessed pre-petition, and obtained the vehicle by making fraudulent
           15
                 misstatements about material things, and then abandoned the vehicle, pre-petition, in
           16
                 a stip mall parking lot; and (2) that debtor is estopped from seeking any monetary
           17
                 damages due to debtor’s inequitable and fraudulent behavior.
           18
                       A. Debtor has unclean hands, because, she intentionally missstated her
           19
                 financial condition, to induce Pacific Motors to sell here the Prius; her unclean hands
           20
                 bars her from being entitled to monetary damages: The defense of unclean hands
           21
                 demands that the plaintiff act fairly in the matter for which he seeks a remedy.
           22
                 Kendall-Jackson Winery, Ltd. v. Superior Court (1999) 76 Cal.App.4th 970, 978.
           23
                 The equitable doctrine of “unclean hands” may be considered by a court in
           24
                 evaluating requests for attorneys fees and costs under Bankruptcy Code §362. In Re
           25
                 Bertuccio (2008) 414 B.R. 604, 625. A party is barred from relief if he has engaged
           26
                 in any unconscientious conduct directly related to the transaction or matter before the
           27
                 court. Kendall-Jackson Winery, Ltd. v. Superior Court (1999) 76 Cal.App.4th 970,
           28
                 979. The misconduct need not be a crime or an actionable tort; any conduct that
                 violates conscience, or good faith, or other equitable standards of conduct is


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                 sufficient cause to invoke the doctrine. Id. Further, the misconduct asserted in an
             1
                 unclean hands defense must be sufficiently related to the matter currently before the
             2
                 court. Peregrine Funding, Inc. v. Sheppard Mullin Richter & Hampton LLP (CA Ct.
             3
                 App. 1st Dist. 2005) 133 Cal.App.4th 658, 680. The question is whether the unclean
             4
                 conduct relates directly to the subject matter involved and not whether it is part of
             5
                 the basis upon which liability is being asserted. Id.
             6
                       B. Debtor is Equitably Estopped from Seeking Damages here, she
             7
                 intentionally missstated her financial condition, to induce Pacific Motors to sell here
             8
                 the Prius: The elements of the defense of equitable estoppel are: “(a) a
             9
                 representation or concealment of material facts; (b) made with knowledge, actual or
           10
                 virtual, of the facts; (c) to a party ignorant, actually and permissibly, of the truth; (d)
           11
                 with the intention, actual or virtual, that the ignorant party act on it; and (e) that the
           12
                 party was induced to act on it.” Simmons v. Ghaderi (2008) 44 Cal. 4th 570, 584.
           13
                 See CA Evid. Code § 623: “Whenever a party has, by his own statement or conduct,
           14
                 intentionally and deliberately led another to believe a particular thing to be true and
           15
                 to act upon such belief, he is not, in any litigation arising out of such statement or
           16
                 conduct, permitted to contradict it.”
           17
                       6. The Court can consider the creditor’s conduct, and the debtor’s conduct, in
           18
                 determining what dollar amount of attorneys fees were reasonable and necessary.
           19
                 “Bankruptcy courts...impose a duty on the debtor to mitigate its damages stemming
           20
                 from a violation of the automatic stay.” In re GeneSys, Inc. (Bankr.D.Dist.Col.2001)
           21
                 273 B.R. 290, 296 (internal citations omitted). The Bankruptcy Court for the Eastern
           22
                 District of California has additionally defined reasonable conduct as “that intended
           23
                 to minimize litigation and avoid incurring otherwise unnecessary expense and cost.”
           24
                 In re Achterberg (E.D.C.A. 2017) 573 BR 819, 840. Where the conduct of
           25
                 debtor/debtor’ attorney unnecessarily extended litigating a claim of stay violation,
           26
                 which should have been settled, the Court can cut the attorneys fees sought by
           27
                 debtor/debtor’s counsel to what is reasonable and necessary. In In re GeneSys, the
           28
                 court reduced the debtor’s attorney fee award due to the fact that the debtor failed to
                 minimize those fees, in part because the court perceived that the “debtor clearly


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                 hoped to capitalize on the...technical violation of the stay, and sought to use it to
             1
                 coerce a remedy to which the debtor was not entitled.” Id. In reducing the attorney’s
             2
                 fees, the court awarded only the time that resolution of the violation of stay should
             3
                 have taken (there, the initial, brief time that the more expeditious resolution would
             4
                 have taken, plus an estimated hour to move for the fees), stating that “the fees ought
             5
                 to have been minimal, instead of the completely overblown award sought by the
             6
                 debtor[.]” The court reduced debtor’s requested fee of $13,271.50 to $205.56. Id.
             7
                       7. Pursuant to the Travelers Casualty & Surety Co. v. Pacific Gas & Electric
             8
                 Co, 127 S.Ct. 1199 (2007) US Supreme Court case, a creditor which is forced to
             9
                 litigate in Bankruptcy Court, and prevails, and which has an attorneys fees clause in
           10
                 its contract (as here, because there is an attorneys fees clause in the installment
           11
                 purchase contract for the Prius between Pacific and debtor) is entitled to award
           12
                 against the bankruptcy debtor of the creditor’s reasonable and necessary attorneys
           13
                 fees expended in the litigation in Bankruptcy Court.
           14
                 VIII. ABANDONED ISSUES
           15
                       Pacific does not believe there are any abandoned issues.
           16
                 IX.   WITNESSES
           17
                       Pacific’s witness list is attached.
           18
                 X.    EXHIBITS
           19
                       Pacific’s exhibit list is attached. But there is delay caused by Neeley,
           20
                 regarding one exhibit that Pacific will offer at trial, which is those portions of the
           21
                 transcript of Robinson’s deposition, taken in this adversary proceeding by Pacific’s
           22
                 undersigned counsel. See XI infra, that at trial, per FRE 801(d) (1) (admission of a
           23
                 party opponent), Pacific will offer various admissions made by debtor Robinson, in
           24
                 her deposition taken in herein adversary proceeding. The problem is that there is a
           25
                 delay getting transcript of Robinson deposition, prepared by the deposition
           26
                 reporter, BenHyatt, due to Robinson’s counsel Neeley not having supplied, to
           27
                 BenHyatt, 2 exhibits that Neeley and Robinson agreed, in deposition, that Neeley
           28
                 would supply to BenHyatt, so BenHyatt could include the 2 exhibits in the Robinson
                 deposition transcript. Due to Neeley’s failure (as of 3/13/18) to supply BenHyatt


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                 with those two exhibits, BehnHyatt has not transcribed the Robinson deposition.
             1
                 Pacific’s undersigned counsel has previously informed BenHyatt that Robinson’s
             2
                 counsel Neeley agreed, in deposition, to send BenHyatt the 2 exhibits in question,
             3
                 and that BenHyatt therefore needs to get those 2 exhibits from Neeley.
             4
                 XI.   DISCOVERY DOCUMENTS
             5
                       Pacific will offer at trial, per FRE 801(d) (1) (admission of a party opponent),
             6
                 various admissions made by debtor Robinson, in her deposition taken in herein
             7
                 adversary proceeding.
             8
                 XII. FURTHER DISCOVERY OR MOTIONS
             9
                       Pacific requests that the Court preclude Debtor from testifying at trial, that she
           10
                 paid a neighbor cash, to drive her to and from work, due to fact that debtor promised
           11
                 to supply documentation showing that to Deposition Reporter, to attach to her
           12
                 deposition, as an exhibit, but failed to do so.
           13
                 XIII. STIPULATIONS
           14
                       None
           15
                 XIV. AMENDMENTS, DISMISSALS
           16
                       None
           17
                 XV. AGREED STATEMENTS
           18
                       None
           19
                 XVI. ATTORNEY’S FEES
           20
                       As stated supra, Pacific seeks award of its reasonable and necessary attorneys
           21
                 fees and costs of defending against debtor’s herein adversary proceeding, per the
           22
                 attorneys fees clause in the Prius installment purchase contract. Debtor presumably
           23
                 seeks attorneys fees per 11 USC 362(k).
           24
                 XVII. MISCELLANEOUS
           25
                       At the original status conference in this adversary proceeding, the Court stated
           26
                 that if the car had been returned to debtor (which had already occurred), the car
           27
                 having been returned to debtor’s possession would significantly impact what
           28
                 attorneys fees the court would be willing to award to debtor, if the court were to find
                 delay in returning the Prius (repossessed pre-petition) to debtor (post- petition)


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                 violated the bankruptcy stay.
             1
                       Neeley (who was not present at that first status conference), and his client,
             2
                 obviously do not realize that the Court will not award attorneys fees run up
             3
                 unnecessarily, and unreasonably.
             4
                       If the Court were to reiterate, to Neeley, Esq., at the pretrial conference, that
             5
                 this Court will not award attorneys fees run up unnecessarily and unreasonably, that
             6
                 the Court making this clear might result in this adversary proceeding settling,
             7
                 because Neeley, Esq. has only kept it going, to run up attorney’s fees, which were
             8
                 neither reasonable, nor necessary.
             9
                 XVIII. ESTIMATED TIME FOR TRIAL
           10
                       Pacific requests 1 day to put in its case. Pacific does not know how much time
           11
                 debtor will request to put on debtor’s
           12
           13
                 Dated: March 15, 2018 THE BANKRUPTCY LAW FIRM, PC
           14
                                                    /s/ Kathleen P. March
           15
                                           By Kathleen P. March, Esq., counsel for Pacific Motors,
           16
                                           a California Corporation, on the herein adv. proceeding
           17
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             1                       WITNESS LIST OF PACIFIC MOTORS
             2            (does not include witnesses to be called for impeachment or rebuttal only)
             3
                 1. Amanda Uribe (worker at Pacific Motors)
             4
                 302 N. Ninth St
             5
                 Modesto, CA 95350
             6
             7
                 2. Ashok Kumar (general manager of Pacific Motors)
             8
                 302 N. Ninth St
             9
                 Modesto, CA 95350
           10
           11
                 3. Jamelia Robinson–to be called and examined as adverse witness
           12
                 3701 Colonial Drive, Apt. 223
           13
                 Modesto, CA 95356
           14
           15 Note, all 3 of these witnesses were deposed in this adversary proceeding.
           16
           17
           18
           19
           20
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           22
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           28




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                           EXHIBIT LIST OF PACIFIC MOTORS
             1
                     (Does not include exhibits to be used for impeachment only)
             2
             3       1. Sale contract and loan form, selling Prius to Robinson
             4       2. Robinson W-2 and paystubs provided to Pacific by Robinson as part of
             5       purchasing Prius
             6       3. Documents showing debtor paid $500 of her downpayment on Prius with
             7       her credit card and showing debtor paid part of her boyfriends (Nicholas
             8       McFadden) downpayment with her credit card, on car boyfriend was buying
             9       same date that debtor was buying her car,ncluding paypal receipt and desk
           10        manaer down payment receipt
           11        4. documents showing information on Nicholas McFadden and proof of
           12        employment, given to Pacific regarding car McFadden was purchasing, which
           13        Robinson paid part of downpayment on for McFadden
           14        5. documents showing debtor and boyfriend employed at same Kaiser location
           15        in Vacaville, CA
           16        6. Bankruptcy schedules showing that credit card is one of the debts debtor
           17        seeks to discharge in her ch 13 case
           18        7. Payment history showing not a single monthly payment was made on Prius,
           19        only payment made was the $1,500 downpayment made by credit card, at time
           20        Robinson purchased Prius at Pacific Motors
           21        8. Late with your payment Notice sent to Robinson, by Pacific, before
           22        Robinson filed bankruptcy
           23        9. Pacific documents for boyfriends car, that debtor paid part of downpayment
           24        on with credit card debtor seeks to discharge, showing that debtor and
           25        boyfriend work at same employer
           26        10. GPS history printout on Prius location from date contract signed, onward
           27        11. Photos showing GPS chip in car
           28        12. Various Photos of car, inside and out, including of trash and partly eaten
                     food left in car



                 PRETRIAL STATEMENT OF DEFENDANT PACIFIC MOTORS, A CA CORP. 14
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                     13. Communications with debtor telling debtor behind on payments, asking
             1
                     debtor to pay
             2
                     14. Documents showing car repossessed prepetition, on May 10, 2017
             3
                     (including car Repossessed forms sent to police)
             4
                     15. Pacer docket showing date debtor filed bky on May 11, 2017
             5
                     16. letter from atty Hurst to Pacific
             6
                     17. Email from Pacific to debtor’s attorney Hurst, attaching statement of facts,
             7
                     saying, inter alia, that car was abandoned by debtor, before it was repossessed
             8
                     by Pacific
             9
                     18. Answer filed in adversary proceeding, by Pacific, telling debtor that as a
           10
                     gesture of good faith, debtor can have possession of car while this adversary
           11
                     proceeding is litigated
           12
                     19. Email to debtor atty emailing copy of answer and saying debtor can pick
           13
                     up case
           14
                     20. Email of debtor atty to bky law firm saying debtor will pick up car on
           15
                     Tuesday, 8/8/17
           16
                     21. Email to debtor atty saying vehicle can be picked up by debtor
           17
                     immediately
           18
                     22. Receipt signed by debtor that debtor picked up Prius from Pacific on
           19
                     8/8/17
           20
                     23. first Settlement offer of Pacific offering to transfer car to debtor, plus
           21
                     money
           22
                     24. Second settlement offer of Pacific, for same amount
           23
                     25. Secured Proof of Claim filed by Pacific
           24
                     26. email of KPMarch of Bankruptcy Law Firm, PC, of 8/17/17 to Price Law
           25
                     Group, to Stuart Price, Esq.
           26
                     27. email of 8/17/17 from Stuart Price, Esq. of Price Law Group, to KPMarch,
           27
                     Esq.
           28
                     28. second email of 8/17/17 of KPMarch of Bankruptcy Law Firm, PC, of




                 PRETRIAL STATEMENT OF DEFENDANT PACIFIC MOTORS, A CA CORP. 15
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                      8/17/17 to Price Law Group, to Stuart Price, Esq.
             1
                      29. Cover letter dated 8/22/17, sent with Plaintiff’s Discovery Requests,
             2
                      stating Prius’ transmission was bad upon return of Prius to Robinson, and that
             3
                      Robinson counsel is planning to modify Robinson’s Chapter 13 plan to
             4
                      surrender the vehicle back to Pacific “as it is non-functional and repairs will
             5
                      cost more than replacement”.
             6
                   30. the documents showing Pacific fixed the radio and changed the oil on the
             7
                      Prius in April 2017, at debtors, request, at no charge to debtor, though Pacific
             8
                      had no obligation to do so
             9
                   31. DMV title (“pink slip”) on Prius, along with Report to DMV of sale of used
           10
                      vehicle, and along with Vehicle Transfer form showing “As is -No Warranty”
           11
                   32. Credit report debtor provided to Pacific as part of requesting to purchase Pruis
           12
                      from Pacific, on an installment purchase contract
           13
                   33. 2 settlement offers that Pacific made to debtor’s counsel, and the 2 payment
           14
                      demands (which were only payment demands, not settlement offers) which
           15
                      debtor’s counsel sent to Pacific’s counsel, demanding money but not offering
           16
                      any settlement in return for money;
           17
                   34. 5/31/17 Pacific Motors letter to L. Tegan Hurst of Price law Group
           18
                      explaining Prius was abandoned in a shopping center parking lot, at time
           19
                      Pacific repossessed Prius, which was 5/10/17 (prepetition); plus the 7
           20
                      documents listed at p2 of that letter, as follows: Report of Repossession from
           21
                      Modesto Police Department, Pacific Motors Repossession Form for Jamelia
           22
                      robinson, After Repossession Letter, Notice and Opporutnity to Cure (Final
           23
                      Notice), Notice of Past Due Balance (First Notice), and Unpaid Invoice from
           24
                      April 12, 2017
           25
                   35. 12/22/17 cover letter to debtor’s Interrogatories, Request to Admit, Requests
           26
                      for Production of documents, from debtor’s counsel to Pacific’s counsel.
           27
                   36. Deposition transcript of debtor Robinson’s deposition taken on 1/15/18 in this
           28
                      adversary proceeding, plus all exhibits to that transcript




                 PRETRIAL STATEMENT OF DEFENDANT PACIFIC MOTORS, A CA CORP. 16
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                   37. Deposition transcript of Pacific manager Ashok Kumar, and all exhibits thereto
             1
                   38. Deposition transcript of Pacific worker Amanda Uribe, and all 5 exhibits thereto,
             2
                      including letter sent by Pacific to Robinson telling Robinson that Pacific repossessed
             3
                      the Prius, and with attachment telling Robinson how she can get Prius back
             4
                   39. Robinson’s written Responses to Pacific Motors Requests for Admissions, Requests
             5
                      to Produce Documents (including documents produced) and Interrogatories
             6
                   40. Copy of Debtor’s confirmed Chapter 13 plan, downloaded from pacer, with Order
             7
                      confirming plan
             8
                   41. Debtor Robinson’s Motion to Modify her confirmed Chapter 13 Plan, to surrender
             9
                      the Prius back to Pacific Motors, instead of debtor paying for Prius through debtor’s
           10
                      confirmed Chapter 13 plan
           11
                   42. Pacer docket for Robinson Chapter 13 case, showing Debtor’s Motion to Modify
           12
                      Plan continued (due to debtor behind on plan payments)
           13
                   43. Order denying debtor’s Motion to Modify Chapter 13 plan (due to debtor behind on
           14
                      plan payments)
           15
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                 PRETRIAL STATEMENT OF DEFENDANT PACIFIC MOTORS, A CA CORP. 17
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             1                                       PROOF OF SERVICE

             2   State of California     )
             3                           )
             4   County of Los Angeles)
             5          I am an attorney admitted to practice in the State of California. I am over the age of
             6   18 and am not a party to the within action. My business address is The Bankruptcy Law
             7   Firm, P.C., 10524 W. Pico Boulevard, Suite 212, Los Angeles, California 90064.
             8          On March 15, 2018, I served a copy of the following:
             9
                     PRETRIAL STATEMENT OF DEFENDANT PACIFIC MOTORS, A
           10    CA CORP. WITH WITNESS LIST, EXHIBIT LIST, AND PROOF OF
                 SERVICE
           11
                 Adversary Proceeding Docket Control Number: PLG-009, submitted
           12    via e-filing system on 3/15/18.
           13    upon each of the following persons, by Bankruptcy Court E-Serve System, addressed as

           14    follows:

           15     Co-Counsel for Debtor                            Co-Counsel for Debtor
           16     Price Law Group, APC                            Kenneth Lynn Neeley
           17     L. Tegan Hurst, SBN 275830                      2250 E. Germann Rd #11
           18     Stuart M. Price, SBN 150439                     Chandler, AZ 85286
           19     15760 Ventura Blvd., Suite 800                  To email: kenn@neeleylaw.com
           20     Encino, CA 91436
           21     To email: Tegan@pricelawgroup.com
           22
           23    I declare under penalty of perjury under the laws of the United States and the State of
           24    California that the foregoing is true and correct.
           25           Executed this March 15, 2018 at Los Angeles, California.
           26                                                /s/ Kathleen P. March
           27                                               Kathleen P. March

           28




                                                Proof of Service
